Case 3:19-cv-00708-NJR-GCS            Document 27    Filed 10/31/19     Page 1 of 1    Page ID
                                             #72


                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

  MICHAEL L. YOUNG,

                        Plaintiff,

  v.                                             Case No. 19-cv-708-NJR-GCS

  MILLER TRUCK LINES, LLC, et al.,

                        Defendants.


                             JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

        IT IS ORDERED AND ADJUDGED that, pursuant to the Order dated October 31, 2019

 (Doc. 26), Plaintiff’s claims against all Defendants were DISMISSED without prejudice, and the

 case was closed.

        DATED: October 31, 2019

                                                    MARGARET M. ROBERTIE,
                                                    Clerk of Court

                                                    By: s/ Deana Brinkley
                                                           Deputy Clerk

 APPROVED:          s/ Nancy J. Rosenstengel
                    NANCY J. ROSENSTENGEL
                    Chief U.S. District Judge
